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 9
     Attorneys for Defendants
10   CITY AND COUNTY OF SAN FRANCISCO,
     PAUL MIYAMOTO IN HIS OFFICIAL CAPACITY AS
11   SAN FRANCISCO SHERIFF,

12

13                                     UNITED STATES DISTRICT COURT

14                                  NORTHERN DISTRICT OF CALIFORNIA

15
      JOSHUA SIMON, DAVID BARBER, AND                  Case No. 22-cv-5541
16    JOSUE BONILLA, INDIVIDUALLY AND
      ON BEHALF OF ALL OTHERS                          NOTICE TO FEDERAL DISTRICT COURT
17    SIMILARLY SITUATED, DIANA BLOCK,                 OF REMOVAL OF ACTION FROM STATE
      AN INDIVIDUAL AND COMMUNITY                      SUPERIOR COURT (PURSUANT TO 28 U.S.C.
18    RESOURCE INITIATIVE, AN                          §§ 1441, 1446)
      ORGANIZATION,
19                                                     Trial Date:           Not Set
             Plaintiffs,
20
             vs.
21
      CITY AND COUNTY OF SAN
22    FRANCISCO, PAUL MIYAMOTO, IN HIS
      OFFICIAL CAPACITY AS SAN
23    FRANCISCO SHERIFF,

24           Defendants.

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        Defs’ Notice of Removal from State Court                                 n:\lit\li2022\230184\01629710.docx
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 1             TO THE CLERK OF COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2             NOTICE IS HEREBY GIVEN that the CITY AND COUNTY OF SAN FRANCISCO and

 3   PAUL MIYAMOTO, IN HIS OFFICIAL CAPACITY AS SAN FRANCISCO SHERIFF

 4   (“Defendants”), named as Defendants in the above-captioned action in the Superior Court of the State

 5   of California, San Francisco County, Case No. CGC-22-601686 (“Underlying Action”), hereby file in

 6   the United States District Court for the Northern District of California a Notice of Removal of said

 7   action to the United States District Court, under 28 U.S.C. §§ 1441 and 1446, and are filing a Notice

 8   of Removal in the Superior Court.

 9             In support of this Notice of Removal under 28 U.S.C. §§ 1441 and 1446, Defendants allege as

10   follows:

11             1.      Plaintiffs Joshua Simon, David Barber, Josue Bonilla, Diana Block, and Community

12   Resource Initiative (“Plaintiffs”) commenced the Underlying Action in the Superior Court of

13   California, San Francisco County on September 8, 2022.

14             2.      The Underlying Action may properly be removed under 28 U.S.C. § 1441 because

15   Plaintiffs allege violations of laws of the United States. The Complaint asserts claims under 28 U.S.C.

16   § 1983 for alleged violations of the Fourth and Fourteenth Amendments to the U.S. Constitution. The

17   Court has original jurisdiction over these claims. See 28 U.S.C. § 1331.

18             3.      Plaintiffs filed the Underlying Action in the Superior Court of the State of California,

19   County of San Francisco, and it is thus properly removed to the jurisdiction of the United States

20   District Court for the Northern District of California, which “embrace[s]” the County of San

21   Francisco, the “place where [the Underlying Action] is pending.” 28 U.S.C. § 1441(a).

22             4.      Defendants are the only two parties named as defendants in the Underlying Action and

23   both consent to removal.

24             5.      Under 28 U.S.C. § 1446(b), this Notice of Removal is timely because it was filed

25   within 30 days of service of the Complaint on Defendants.

26             6.      Defendants have not answered or otherwise pled in response to the Complaint.

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 1          7.      By removing the Underlying Action from the California Superior Court, Defendants do

 2   not waive any defenses available to them.

 3          8.      By removing the Underlying Action from the California Superior Court, Defendants do

 4   not admit any of the allegations in Plaintiffs’ Complaint.

 5          9.      Defendants do not agree that Plaintiffs’ purported class can or should be certified or

 6   that Plaintiffs’ claims are subject to class treatment in any form, and Defendants reserve all objections

 7   to and arguments against such certification or treatment and will present such objections and

 8   arguments at the appropriate juncture in this matter.

 9          10.     Although Defendants have not been properly served with all documents in the

10   Underlying Action (see 28 U.S.C. § 1446(a)), 1 in an abundance of caution, true and correct copies of

11   the following process, pleadings, and orders Defendants understand Plaintiffs have filed in the

12   Underlying Action are attached:

13                  a.       The Complaint is attached as Exhibit A;

14                  b.       The Civil Case Coversheet is attached as Exhibit B;

15                  c.       The Notice to Plaintiff is attached as Exhibit C;

16                  d.       The issued Summons is attached as Exhibit D;

17                  e.       Plaintiffs’ Ex Parte Application for Order to Show Cause Regarding

18                           Preliminary Injunction is attached as Exhibit E;

19                  f.       Plaintiffs’ Memorandum of Points and Authorities in Support of Ex Parte

20                           Application for Order to Show Cause Regarding Preliminary Injunction is

21                           attached as Exhibit F;

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            1
              Plaintiffs copied a general email address for the City Attorney’s Office on correspondence
25   with the Superior Court about an ex parte motion and mailed copies of certain Plaintiffs’ declarations
     to the Mayor’s Office. This is clearly inadequate for service. See Cal. Code Civ. Proc. §§ 416.50
26   (describing acceptable methods of service and conditions); City Attorney of San Francisco,
     https://www.sfcityattorney.org/ (prominently providing temporary service rules for the City and
27   County of San Francisco) (last visited Sept. 27, 2022). Yesterday, Plaintiffs’ counsel emailed
     Defendants’ counsel with copies of affidavits reflecting substituted service on the City and County of
28   San Francisco, though these proofs of service have not appeared on the state court docket.
                                                          3
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 1                     g.       Declaration of Avram D. Frey In Support of Plaintiffs’ Ex Parte Application for

 2                              Order to Show Cause Regarding Preliminary Injunction is attached as

 3                              Exhibit G;

 4                     h.       Declaration of Sujung Kim In Support of Plaintiffs’ Ex Parte Application for

 5                              Order to Show Cause Regarding Preliminary Injunction is attached as

 6                              Exhibit H;

 7                     i.       Declaration of Hannah Kieschnick In Support of Plaintiffs’ Ex Parte

 8                              Application for Order to Show Cause Regarding Preliminary Injunction is

 9                              attached as Exhibit I;

10                     j.       Declaration of Joshua Simon In Support of Plaintiffs’ Ex Parte Application for

11                              Order to Show Cause Regarding Preliminary Injunction is attached as

12                              Exhibit J;

13                     k.       Declaration of David Barber in Support of Plaintiffs’ Ex Parte Application for

14                              Order to Show Cause Regarding Preliminary Injunction is attached as

15                              Exhibit K; and

16                     l.       Declaration of Josue Bonilla in Support of Plaintiffs’ Ex Parte Application for

17                              Order to Show Cause Regarding Preliminary Injunction is attached as

18                              Exhibit L.

19             11.     Defendants will promptly serve written notice of this Notice of Removal on all adverse

20   parties and file the same with the Superior Court of California, County of San Francisco, as required

21   by 28 U.S.C. § 1446(d).

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 1          WHEREFORE, Defendants remove the above-captioned action in its entirety from the

 2   Superior Court of California, County of San Francisco to the United States District Court for the

 3   Northern District of California for all further proceedings, pursuant to 28 U.S.C. § 1441, et. seq.

 4
     Dated: September 28, 2022                           Respectfully Submitted,
 5
                                                         DAVID CHIU
 6                                                       City Attorney
                                                         MEREDITH B. OSBORN
 7                                                       Chief Trial Deputy
                                                         KAITLYN MURPHY
 8
                                                         ALEXANDER J. HOLTZMAN
 9                                                       Deputy City Attorneys

10
                                                   By:        /s/ Kaitlyn Murphy
11                                                       KAITLYN MURPHY

12                                                       Attorneys for Defendants
                                                         CITY AND COUNTY OF SAN FRANCISCO, PAUL
13                                                       MIYAMOTO, IN HIS OFFICIAL CAPACITY AS SAN
                                                         FRANCISCO SHERIFF
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                                                   PROOF OF SERVICE
 1
            I, ANNAMARIE DAVIS, declare as follows:
 2
             I am a citizen of the United States, over the age of eighteen years and not a party to the above-
 3   entitled action. I am employed at the City Attorney’s Office of San Francisco, Fox Plaza Building,
     1390 Market Street, Sixth Floor, San Francisco, CA 94102.
 4
            On September 28, 2022, I served the following document(s):
 5
       NOTICE TO FEDERAL DISTRICT COURT OF REMOVAL OF ACTION FROM STATE
 6               SUPERIOR COURT (PURSUANT TO 28 U.S.C. §§ 1441, 1446)
 7
     on the following persons at the locations specified:
 8
      Shilpi Agarwal, Esq.                                         Justina Sessions, Esq.
 9    Avram D. Frey, Esq.                                          John P. Flynn, Esq.
      Emi Young, Esq.                                              Colleen Bal, Esq.
10    Hannah Kieschnick, Esq.                                      Dylan G. Savage, Esq.
      American Civil Liberties Union Foundation                    Malavika F. Lobo, Esq.
11    of Northern California, Inc.                                 Wilson, Sonsini, Goodrich & Rosati
      39 Drumm Street                                              One Market Plaza
12    San Francisco, CA 94111                                      Spear Street Tower, Suite 3300
      sagarwal@aclunc.org                                          San Francisco, CA 94105
13    eyoung@aclunc.org                                            jessions@wsgr.com
      hkieschnick@aclunc.org                                       jflynn@wagr.com
14                                                                 cbal@wsgr.com
      Attorneys for Plaintiffs                                     dsavage@wsgr.com
15    (415) 621-2493 (Telephone)                                   mlobo@wsgr.com
      (415) 255-1478 (Facsimile)                                   Attorneys for Plaintiff
16
                                                                   (415) 947-2197 (Telephone)
17                                                                 (415) 947-2000 (Facsimile)

18   in the manner indicated below:
             BY UNITED STATES MAIL: Following ordinary business practices, I sealed true and correct copies of
19          the above documents in addressed envelope(s) and placed them at my workplace for collection and mailing with
            the United States Postal Service. I am readily familiar with the practices of the San Francisco City Attorney’s
20          Office for collecting and processing mail. In the ordinary course of business, the sealed envelope(s) that I placed
            for collection would be deposited, postage prepaid, with the United States Postal Service that same day.
21
            BY ELECTRONIC MAIL: Based on a court order or an agreement of the parties to accept electronic
22          service, I caused the documents to be sent to the person(s) at the electronic service address(es) listed above. Such
            document(s) were transmitted via electronic mail from the electronic address: annamarie.davis@sfcityatty.org in
23          portable document format (“PDF”) Adobe Acrobat.

24          I declare under penalty of perjury pursuant to the laws of the State of California that the
     foregoing is true and correct.
25
            Executed September 28, 2022, at San Francisco, California.
26

27                                                                 ANNAMARIE DAVIS
28
                                                                   6
        Defs’ Notice of Removal from State Court                                                   n:\lit\li2022\230184\01629710.docx
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